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10
                                      UNITED STATES DISTRICT COURT
11                                   EASTERN DISTRICT OF CALIFORNIA
                                          SACRAMENTO DIVISION
12   ERICKA BOHNEL, an individual,
     ROSA MARTINEZ, an individual,                           No. 2: 18-cv-00081-WBS-DMC
13
                                         Plaintiffs,         Hon. William B. Shubb
14
              v.                                             ORDER RE JOINT
15                                                           STIPULATION AND MOTION TO
     JETBLUE AIRWAYS CORPORATION, a                          CONTINUE TRIAL AND CASE
     Delaware corporation,                                   SCHEDULING DEADLINES
16                                       Defendant.
     -----------------------------------------------------
17   MICHELLE HILL, an individual,
     ARIEL EPSTEIN POLLACK, an
18   individual,

                                         Plaintiffs,
19
              v.
20
     JETBLUE AIRWAYS CORPORATION, a
21   Delaware corporation,
                           Defendant.
22

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                                                  1
24                        ORDER GRANTING STIPULATION AND MOTION TO CONTINUE

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 1                                                 ORDER

 2          The Court having considered the parties’ Joint Stipulation and Motion Continuing Trial

 3   and Pretrial Schedule,

 4          The Court having further considered the facts and circumstances set forth in the

 5   documents submitted by counsel relevant to said motion and thus finding that Plaintiffs’ Motion

 6   to Continue is GRANTED.

 7          A Scheduling Order adopting Plaintiffs’ proposed deadlines will reflect the following in

 8   the Bohnel and Hill matters:

 9                            Fact Discovery cut-off: March 31, 2020
                              Expert reports: August 3, 2020
10                            Rebuttal expert reports: September 1, 2020
                              Expert Discovery cut-off: November 2, 2020
11                            Deadline to mediate: December 1, 2020
                              Deadline to file dispositive motions: January 4, 2021
12                            Bohnel Pre-Trial Conference: April 12, 2021 at 1:30 p.m.
                              Bohnel Trial: June 2, 2021 at 9:00 a.m.
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     Dated: December 20, 2019
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24                    ORDER GRANTING STIPULATION AND MOTION TO CONTINUE

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